                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      COLLIER/CARTER
                                              )
        v.                                    )      CASE NO. 1:10-CR-110
                                              )
 JERRY LAWSON                                 )


                                            ORDER

        On June 29, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture and distribute five

 grams or more of actual methamphetamine and fifty grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of Title 21, USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in the lesser included offense in Count One of the Indictment; (c) that a

 decision on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant

 shall remain in custody pending sentencing in this matter (Court File No. 338). Neither party filed

 an objection within the given fourteen days. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;



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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 November 17, 2011, at 9:00 am.

        SO ORDERED.

        ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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